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 1
                               UNITED STATES DISTRICT COURT
 2                        FOR THE EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00153-LJO-SKO-1
 4
                              Plaintiff-
 5                            Respondent,
                                                       ORDER SETTING BRIEFING SCHEDULE
 6          v.
 7   JAVIER ALONSO BELTRAN,
 8                            Defendant-               (ECF NOS. 42, 43)
                              Petitioner.
 9

10          On July 19, 2019, Javier Alonso Beltran (“Petitioner”), a federal prisoner proceeding pro

11   se, filed a motion to vacate, set aside, or correct a sentence (“Motion”) under Title 28, United

12   States Code, Section 2255, challenging the constitutionality of his guilty plea in light of the

13   Supreme Court’s decision in United States v. Davis, 139 S. Ct. 2319 (2019). See ECF No. 42. On

14   September 9, 2019, the Court received a second motion from petitioner, containing the same single

15   allegation. ECF No. 43. Appended to the second motion was a handwritten certificate of service.

16   ECF No. 43. Included with the first motion was a letter addressed to the Government. ECF No. 42.

17   Because there is no substantive difference to resolve between the motions, the first motion is the

18   operative motion in this case.

19          Upon preliminary review of the Motion, the Court believes its decision making would be

20   aided by the filing of a response by the United States. Accordingly,

21          IT IS HEREBY ORDERED that the Government shall file a response to Petitioner’s

22   Motion by November 18, 2019; and

23          IT IS FURTHER ORDERED that Petitioner shall have 60 days to file his reply, from the

24   date of the Government’s filing.
     IT IS SO ORDERED.
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26     Dated:     September 19, 2019                       /s/ Lawrence J. O’Neill _____
                                                  UNITED STATES CHIEF DISTRICT JUDGE
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